Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 1 of 15

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et ai.,! Case No. 14-10979 (CSS)
Debtors. (Jointly Administered)

Hearing Date (Requested):
July 16, 2018 at 11:00 a.m.

Objection Deadline (Requested):
July 12, 2018 at 11:59 p.m.

Name ee Ne Ne ee ee ee Nee ee i Nee”

MOTION OF EFH PLAN
ADMINISTRATOR BOARD FOR AUTHORIZATION TO
REIMBURSE THIRD-PARTY DISCOVERY FEES AND EXPENSES
OF FORMER DIRECTORS, OFFICERS, AND MANAGER INCURRED
IN CONNECTION WITH THE EFH/EFIH ALLOCATION DISPUTE

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided herein.
A complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http://www.efhcaseinfo.com.

RLFI 19616603v.1
Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 2 of 15

The EFH Plan Administrator Board (the “PAB”) hereby files this motion (this “Motion”)
for entry of an order substantially in the form attached hereto as Exhibit A (the “Order”)
authorizing reimbursement from the EFH Plan Administration Trust to the former disinterested

directors and managers at EFH and EFTH (the “Former Disinterested Directors and Managers”),

and the other former directors and officers of the EFH/EFIH Debtors (together with the Former

Disinterested Directors and Managers, the “Former Directors and Officers”), for reasonable and

documented costs and expenses, including reasonable and documented legal fees and expenses

(collectively, the “Fees and Expenses”) incurred in connection with the EFH/EFIH Allocation

Dispute (as defined below), effective nunc pro tunc to the entry of the Order Scheduling Certain
Dates and Deadlines and Establishing Certain Protocols in Connection with the Joint Motion of
UMB Bank, N.A., as Indenture Trustee, and Elliott to Fix Appropriate Allocation of Certain
Reserves and Expenses as Between the EFH and EFIH Debtors [D.I. 13193] (as may be

amended, the “Allocation Scheduling Order’’):?

Jurisdiction
1. The United States Bankruptcy Court for the District of Delaware (the “Court”)
has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended
Standing Order of Reference from the United States District Court for the District of Delaware,
dated February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2), and the EFH Plan Administrator Board consents pursuant to rule 9013-1(f) of the

; Capitalized terms used, but not otherwise defined, herein shall have the same meanings ascribed
to them in the First Amended Joint Plan of Reorganization of Energy Future Holdings Corp., Energy
Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the
Bankruptcy Code [D.I. 12653] (the “Plan”) or the Allocation Scheduling Order, as applicable.

Nothing herein prejudices the rights of any of the Former Directors and Officers (including the
Former Disinterested Directors and Officers) to seek any form of relief (including relief related to the
Fees and Expenses) in connection with the EFH/EFIH Allocation Dispute.

RLF1 19616603v.1

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 3 of 15

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Bankruptcy Rules”) to the entry of a final order by the Court in

connection with this Motion to the extent that it is later determined that the Court, absent consent
of the parties, cannot enter final orders or judgments in connection herewith consistent with
Article Il] of the United States Constitution.

2. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

3, The bases for the relief requested in this Motion are section 105(a) of title 11 of

the United States Code (the “Bankruptcy Code”); rules 2002(b) and (d), and 9013 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”); and rule 45(d) of the Federal Rules of

Civil Procedure (the “Federal Rules”),

Background

4. On April 29, 2014, the Debtors commenced their chapter 11 cases. In November
2014, each of EFH Corp., EFIH, and EFCH/TCEH retained counsel and financial advisors to
advise them in analyzing conflicts matters among the estates of those Debtors, including
potential intercompany Claims among the Debtors, at the direction of the disinterested directors
and managers at each of EFH, EFIH, and EFCH/TCEH, respectively.

5. During the pendency of the chapter 11 cases, the estates compensated the Former
Directors and Officers in the ordinary course of business, without any need for Court approval.
Former counsel to the Former Disinterested Directors of EFH (Bielli & Klauder, LLC and
Proskauer Rose LLP) and former counsel to the Former Disinterested Manager of EFIH (Stevens

& Lee, P.C. and Jenner & Block LLP) (collectively, “Counsel”) were compensated in

* Disclosure Statement for the First Amended Joint Plan of Reorganization of Energy Future
Holdings Corp. Energy Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors
Pursuant to Chapter 11 of the Bankruptcy Code [D.I. 11889].

RLF1 19616603v.1
Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 4 of 15

accordance with the Order Establishing Procedures for Interim Compensation and
Reimbursement of Expenses for Professionals [D.1. 2066], the Stipulation and Order Appointing
a Fee Committee [D.I. 1896, as amended by D.I. 12552] and each of their respective retention
orders.

6. The EFH/EFIH Debtors emerged from chapter 11 on March 9, 2018 (the “EFH
Effective Date”),’ Following the EFH Effective Date, and under the EFH Plan Administration
Trust Agreement, the PAB holds all powers necessary to administer the EFH Plan
Administration Trust for the benefit of the EFH and EFIH creditors.”

7. Prior to the EFH Effective Date, the Former Disinterested Directors and
Managers of EFH and EFIH had been engaged in negotiations (between each other and with
certain of their respective creditor constituencies) surrounding a potential settlement of certain
administrative claims, now the subject of the EFH/EFIH Allocation Dispute. These negotiations
did not yield a settlement.

8. On May 13, 2018, the Elliott Funds filed a motion requesting that the Court fix an
allocation of certain reserves and expenses as between the EFH and EFIH Debtors [D.I. 13102]

(the “Elliott Allocation Motion”). On June 11, 2018, the Court entered the Allocation

Scheduling Order, which provided a process for parties to respond to the Elliott Allocation
Motion. Three days later, on June 14, 2018, the Court found that the PAB could participate in

the EFH/EFIH Allocation Dispute.°

* See Notice of Entry of EFH Confirmation Order and Occurrence of EFH Effective Date [D.1.
12801].

> Notice of the Filing of the Second Amended Supplement to the First Amended Joint Plan of
Reorganization of Energy Future Holdings Corp., Energy Future Intermediate Holding Company LLC,
and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy Code, Ex. D. [D.1. 12798].

° 6/14/18 Hr’g Tr. at 5:9 (“I’m going to allow the PAB to participate.”).

RLFI 19616603v.1

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 5of 15

9. Pursuant to paragraph S(d) of the Allocation Scheduling Order, June 29, 2018 was
the deadline to serve any subpoenas on third parties in relation to the EFH/EFIH Allocation
Dispute. On that date, the Elliott Funds issued subpoenas to the Former Disinterested Directors
of EFH (Donald L. Evans and Billie I. Williamson) and the Former Disinterested Manager of
EFIH (Charles H. Cremens). Also on that date, the EFH Ad Hoc Group and EFH Indenture
Trustee issued subpoenas on Ms. Williamson and Mr. Cremens. Counsel to the creditors have
indicated they will take third-party discovery from the Debtors’ former chief restructuring officer
(Paul Keglevic). Currently, the deadline to respond to these subpoenas is July 6, 2018. The
PAB understands that extensions of that date have been negotiated.

10. As detailed below, in upcoming weeks, the Former Disinterested Directors and
Managers—who are not “Parties” to the Allocation Scheduling Order—may be subjected to
time-consuming pre-trial litigation, including responding to the subpoenas; document collection,
review, and production and the logging of privileged materials; deposition preparation and
testimony; trial preparation; and if a settlement is not reached, attendance (and potential
testimony) at a trial lasting up to three full days.

11. The amount of Fees and Expenses that the Former Disinterested Directors and
Managers (and, potentially, other Former Directors and Officers) incur in connection with the
EFH/EFIH Allocation Dispute is wholly in the hands of the Parties (excluding the PAB), who
can control the scope of subpoena requests and deposition notices and demand for trial
testimony. The Former Directors and Officers are not Parties to the EFH/EFIH Allocation
Dispute, and are not subject to personal liability through the proceedings contemplated in the

Allocation Scheduling Order. In other words, there is no incentive (or disincentive) driving

RLF1 19616603v.1

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 6 of 15

Former Directors and Officers to engage and cooperate with the Parties’ efforts to resolve the
EFH/EFIH Allocation Dispute.

12. _ In light of the foregoing, the PAB believes it is a prudent exercise of its authority
under the EFH Plan Administration Trust Agreement (or under alternative authority, as described
herein) to reimburse the Fees and Expenses of Former Directors and Officers, in accordance with
the Fees and Expenses Allocation set forth in the Order (as described below).

Relief Requested

13. By this Motion, the EFH Plan Administrator Board requests entry of an order
substantially in the form attached hereto as Exhibit A, (a) authorizing payment from the EFH
Plan Administration Trust for the Former Directors and Officers’ Fees and Expenses incurred in
connection with the EFH/EFIH Allocation Dispute, nunc pro tunc to June 11, 2018 (i¢., the date
of entry of the Allocation Scheduling Order), and (b) providing that the allocation of such Fees
and Expenses shall be as follows: (x) 100% from the EFH Cash Account for any Fees and
Expenses incurred by the Former Disinterested Directors and Managers of EFH; (y) 100% from
the Cash in the EFH/EFIH Cash Distribution Account available to satisfy Allowed Claims
against the EFIH Debtors (as set forth in subclause (d) of the definition of EFH/EFIH Cash
Distribution Account in the Plan) for any Fees and Expenses incurred by the Former
Disinterested Directors and Managers of EFIH; and (z) 50%/50% from each of the foregoing
accounts for any Fees and Expenses incurred by any other Former Directors and Officers of EFH

and EFIH (excluding the Former Disinterested Directors and Managers) (the “Fees and Expenses

Allocation”).’

” Subpoenas were also served to many of the Professionals that represented the EFH/EFIH
Debtors during the chapter 11 cases. Pursuant to the Plan, “upon the EFH Effective Date. . .any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy
Code in seeking retention or compensation for services rendered after such date shall terminate, and the

6
RLFI 19616603v.1

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 7 of 15

Basis for Relief Requested

IL THE REQUESTED RELIEF IS APPROPRIATE AND PROMOTES THE
RESOLUTION OF THE EFH/EFIH ALLOCATION DISPUTE.

A. The EFH Plan Administration Trust Agreement Authorizes the
Payment of Fees and Expenses.

14. The EFH Plan Administration Trust Agreement provides the PAB with “all
powers necessary to implement the provisions of [the EFH Plan Administration Trust
Agreement] and administer the Trust.”® These broad powers include the authority to reimburse
the Fees and Expenses.

15. First, the PAB has the authority to disburse payments on account of the Fees and
Expenses because the incurrence of such costs will be in connection with the
“protection, preservation, liquidation, and distribution of the Trust Assets” in accordance with
Article VI.1 of the EFH Plan Administration Trust Agreement:

The Trustee shall expend Trust Assets: (a) to pay reasonable
administrative expenses of the Trust that are incurred (including
any taxes imposed on the Trust or reasonable professional,
consultant, and employee fees and expenses in connection with the
administration of the Trust Assets ... and (ii) any other fees and
costs incurred in connection with the protection, preservation,

liquidation, and distribution of the Trust Assets.

EFH Plan Administration Trust Agreement, Article IV.1 (“Payment of Claims, Expenses, and
Liabilities”) (emphasis added).

16. Fundamentally, the EFH/EFIH Allocation Dispute is litigation about the

“liquidation” of Claims asserted against each of EFIH and EFH and “distribution” of the estate

Debtors or Reorganized Debtors may employ and pay any Professional in the ordinary course of business
without any further notice to or action, order, or approval of the Bankruptcy Court.” Plan, Art. II.2.A.2.e.
Therefore, this Motion does not request relief related to those fees and expenses of Professionals incurred
in conjunction with the EFH/EFIH Allocation Dispute. The PAB reserves all rights with respect to such
fees and expenses incurred by the Professionals in connection with the EFH/EFIH Allocation Dispute,
consistent with the Plan and the EFH Plan Administration Trust Agreement.

* EFH Plan Administration Trust Agreement, Recital I.

RLF! 19616603v.J
Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 8 of 15

assets. Indeed, as all of the Parties are aware, as a result of the EFH/EFIH Allocation Dispute,
the EFH Plan Administrator Board has been forced to hold back over half a billion in Plan
distributions and has been unable to make distributions to Holders of Allowed Claims in Classes
A4-All under the Plan. Without resolution of the EFH/EFIH Allocation Dispute (which the
Parties have indicated requires the involvement of the Former Disinterested Directors and
Managers, as reflected in the subpoenas that have been issued), Plan distributions will continue
to remain frozen.

17. Second, Article 6.1 of the EFH Plan Administration Trust Agreement details the
“Powers of the Trustee.” This Article states that the PAB may satisfy from the EFH Plan
Administration Trust’s assets any ordinary course liabilities “created, incurred or assumed by the
Trust,” including reasonable professional fees and expenses.’ As it became clear that the
EFH/EFIH Allocation Dispute would not be resolved by the EFH Effective Date, payments
related to the EFH/EFIH Allocation Dispute were contemplated as an essential part of the
winddown of the estates. It was therefore conceivable to all parties that litigation costs related to
the EFH/EFIH Allocation Dispute would arise in the ordinary course of the PAB’s duties.

18. Third, the EFH Plan Administration Trust Agreement grants the Trustee with
“any powers reasonably incidental” to its powers that are “necessary or appropriate to fulfill the

purpose of the Trust.”'° Included within these delineated objectives is the right to “make

” Id. at Art. VI.1 (“The Trustee shall have all of the rights, powers, and privileges expressly set
forth in the Plan, the Confirmation Order, this Agreement, without any further notice to or action, order,
or approval by the Bankruptcy Court . . . (j) determine and satisfy from the Trust Assets any and all taxes
and ordinary course liabilities, including reasonable professional, consultant, and employee fees and
expenses permitted hereby, created, incurred or assumed by the Trust, subject to and in accordance with
the terms of this Agreement.”),

10 Tg.

RLF! 19616603v.1

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 9 of 15

distributions of the Trust Assets.’?!

To accomplish its goal of making distributions
expeditiously, it is appropriate for the PAB—in an effort to seek the resolution of the EFH/EFIH
Allocation Dispute—to cover the Fees and Expenses. Setting aside any potential interpretation of
the specific outlined powers of the PAB, this Court has determined that this section does not
limit those activities that the PAB can conduct under the EFH Plan Administration Trust
Agreement.'? Therefore, pursuant to the PAB’s express charge and the broad authority vested to
it under the EFH Plan Administration Trust Agreement, the PAB is authorized to distribute the

Fees and Expenses,

B. The Merger Agreement and Directors’ and Officers’ Insurance
Programs Do Not Require Sempra to Satisfy the Fees and Expenses.

19. The Merger Agreement contains two provisions for Reorganized EFH/EFIH’s
indemnification of fees and expenses incurred by the Former Directors and Officers under
certain circumstances.“ Section 6.8(a) of the Merger Agreement imposes indemnification
obligations on Reorganized EFH/EFTH for:

“costs and expenses (including reasonable and necessary attorneys’ fees and experts’
fees), and sums which [a Former Director and Officer] becomes legally obligated to pay
solely as a result of judgments, fines, losses, claims, damages, settlements or liabilities
(collectively “Costs’) “arising out of any claim, action, suit, proceeding or investigation,
whether civil, criminal, administrative or investigative, arising out of or related to such
[Former Directors’ and Officers’] service as a manger, director or officer of the Company
or any of its Subsidiaries.”

'' Td. at Art. VI.1(f).

? 6/14/18 Hr’g Tr. at 6:5-8, 11-14 (“There are also provisions that specify a series of -- I think
it’s 12 or more -- specific things that the trust can do, and included in that is issues with regard to claims .
... [E]ven besides that I don’t believe that that specific limitation is meant to say that the trust can only
do those things. It is in the nature of an including without limitation provision.”) (emphasis added.)

3 Based on communications with Counsel, the PAB understands that the Former Disinterested
Directors and Officers may not agree with the PAB’s statements herein related to the Merger Agreement.
As described above, nothing herein prejudices the rights of the Former Disinterested Directors and
Officers with respect to such statements.

'* Merger Agreement, § 6.8(a) “Indemnification; Directors’ and Officers’ Insurance”).

'S Jd. (emphasis added).

RLF1 19616603v.1

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 10 of 15

20. The Fees and Expenses the Former Directors and Officers will incur in
connection with the EFH/EFIH Allocation Dispute do not “arise out of? their service to the
Debtors, nor has any party to the EFH/EFIH Allocation Dispute asserted claims against the
Former Directors and Officers related to their service to the Company. When read in context, the
Costs for which Reorganized EFH/EFIH have agreed to indemnify the Former Directors and
Officers relate to Costs incurred with respect to claims asserted against the Former Directors and
Officers. The only circumstances in which a Former Director and Officer would become legally
obligated to pay sums as a result of “judgments, fines, losses, claims, damages, settlements, or
liabilities” is one in which there has been litigation directed at the Former Directors and Officers,
and that is not the case here. Instead, the Former Directors and Officers have been called upon to
assist the Parties and the Court as third-party fact witnesses to bring the EFH/EFIH Allocation
Dispute to conclusion.

21. Furthermore, section 6.8(b) of the Merger Agreement states that prior to the EFH
Effective Date, EFH shall obtain and pay the premium for a directors’ and officers’ liability

16

insurance program.’ EFH did obtain and pay for a lead policy and a “Side A” policy for

director and officer coverage with AEGIS Insurance Services, Inc. (the “D&O Insurance

Program”), relevant portions of which are attached hereto as Exhibit B. The D&O Insurance
Program does not cover the Fees and Expenses. The D&O Insurance Program’s definition of a

covered “Claim” is limited to the following (emphasis added in each case):

'® Td. at § 6.8(b)

10
RLF! 19616603v.1

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 11 of 15

Definition of Covered Claim

Analysis

a civil, criminal, administrative or regulatory
investigation of any directors or officers commenced
by the service upon or other receipt by the director or
officer of a subpoena, target letter, Wells Notice or
other written notice from an Enforcement Authority
identifying by name the director of officer as an
individual against whom a_ civil, criminal,
administrative or regulatory proceeding may be
commenced."’

This provision is not applicable here. Enforcement
Authority is defined as “any federal, state, local or
foreign law enforcement or governmental authority
(including the U.S. Department of Justice, the U.S.
Securities and Exchange Commission and any
federal or state attorney general) or the enforcement
unit of any securities exchange or similar self-
regulatory body.” None of the Parties who issued
subpoenas qualify as Enforcement Authorities.

a written request or subpoena from an Enforcement
Authority or insured organization to interview or
depose a director or officer, or for the production of
documents by a director or officer, in connection with
a proceeding against or investigation of any other
director or officer or the insured organization,
whether or not such request or subpoena alleges a
wrongful act; provided such request or subpoena shall
constitute a claim under this policy only if (i) it is not
part of a routine or regularly scheduled audit,
inspection or general oversight or compliance activity,
and (ii) the insured organization gives to the insurer
written notice thereof pursuant to Condition (E)
below. ®

This provision is not applicable here. The subpoena
is not from an enforcement authority (as set forth
above) or EFH (the insured organization). In
addition, the subpoenas have not been issued in
connection with a proceeding against any of the
Former Directors and Officers.

any request or demand by a regulatory, administrative,
governmental or similar authority to interview or
depose an insured.'

This provision is not applicable because none of the
Parties who issued subpoenas are regulatory or
governmental authorities. As described above, the
Merger Agreement (through its limited
indemnification of Former Directors and Officers)
and the D&O Insurance Program (through the
limitations in the definition of covered claims)
likely do not provide coverage for the Fees and
Expenses.

'7 D&O Insurance Program, Art.V1.B(5),
'§ D&O Insurance Program, Art.VI.B(6).
'° D&O Insurance Program, Side A, § 2(b)(4).

1]
RLFI 19616603v.1

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 12 of 15

Cc. Reimbursing the Fees and Expenses Is Appropriate Under Federal
Rule 45(d) and Section 105(a) of the Bankruptcy Code.

22. Even if the EFH Plan Administration Trust Agreement did not authorize the PAB
to pay the Fees and Expenses, it is appropriate to do so under Federal Rule 45(d) and section 105
of the Bankruptcy Code.

23. Because non-party subpoena recipients provide involuntary assistance to the court
and the parties, it is central to Federal Rule 45 that courts protect them from “undue burden.”
See Fed. R. Civ. P. 45(d)(1) (“A party or attorney responsible for issuing and serving a subpoena
must take reasonable steps to avoid imposing undue burden or expense on a person subject to the
subpoena.”).

24. In the Third Circuit, “[s]ignificant expenses” of a third-party “must be borne by
the party seeking discovery.” R.J. Reynolds Tobacco v. Philip Morris, Inc., 29 F. App’x 880,
883 (3d Cir. 2002) (emphasis added) (finding that district court abused its direction by
summarily denying compensation to third-party subpoena recipient without considering third-
party’s costs and remanding “to make findings regarding [third-party’s] expenses and to award
any expenses required by” Rule 45). See also Parker v. Four Seasons Hotels, Lid., 291 F.R.D.
181, 188 (N.D. Ill. 2013) (citation omitted) (“[NJon-party status is a significant factor to be
considered in determining whether the burden imposed by a subpoena is undue,” and “courts
give special weight to the unwanted burdens thrust upon non-parties when balancing competing
needs.”); Watts v. SEC, 482 F.3d 501, 509 (D.C. Cir. 2007) (noting “undue burden” standard
requires district courts supervising discovery to be sensitive to costs imposed on third parties).

25. There are three factors to consider in deciding if a non-party’s expenses are
significant: “whether the nonparty actually has an interest in the outcome of the case, whether

the nonparty can more readily bear the costs than the requesting party and whether the litigation

12
RLF] 19616603v.1

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 13 of 15

is of public importance.” Wesco Distrib., Inc. v. RES Holdings Corp., 2013 WL 432932, at *2
(W.D. Pa, 2013) (quoting Linder v. Calero-Portcarrero, 180 F.R.D. 168, 177 (D.D.C. 1998));
see Magna Mirrors of Am., Inc. v. Pittsburgh Glass Works LLC. 2012 WL 4904515 at *3 (W.D.
Pa. 2012) (concluding that because “two of the three factors weigh in favor of [party] bearing the
costs while the third is neutral,” party must bear costs of third-party’s compliance with
subpoena).

26. Here, all three factors counsel in favor of fee-shifting. First, the Former Directors
and Offers do not have a pecuniary interest in the outcome of the EFH/EFIH Allocation dispute.
Second, there is no reason that the non-parties (all individuals) could more readily bear the costs
than the hedge funds and institutional investors that are prosecuting the EFH/EFIH Allocation
Dispute for their own economic benefit. Third, allocating administrative expenses between two
estates (and thereby adjusting the recoveries of those hedge funds and institutional investors) is
not a matter of public importance.

27. Notwithstanding the protections afforded by Federal Rule 45, section 105(a) of
the Bankruptcy Code empowers the Court to “issue any order, process or judgment that is
necessary or appropriate to carry out the provisions of this title.” To that end, the Bankruptcy
Court has broad authority under section 105(a) to “provide equitable relief appropriate to assure
the orderly conduct of reorganization proceedings.” Jn re Combustion Eng'g, Inc., 391 F.3d 190,
236 (3d Cir. 2004).

28. Authorizing the PAB to reimburse the Former Directors and Officers for Fees and
Expenses is necessary to the effective resolution of the EFH/EFIH Allocation Dispute, and thus,
the final administration of the EFH and EFIH estates. Moreover, the Parties to the EFH/EFIH

Allocation Dispute (other than the PAB) are in control of the scope of subpoenas, deposition

13
RLF1 19616603v.1

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 14 of 15

notices, and trial testimony requested at the various milestones in the Allocation Scheduling
Order —~and therefore, in control of the Fees and Expenses. To the extent that these Parties are
sensitive to the Former Directors’ and Officers’ incurrence of Fees and Expenses, litigation
strategy may be tailored accordingly, or alternatively, resolution of the EFH/EFIH Allocation
Dispute may finally be brokered. Furthermore, as described above, the EFH and EFIH creditors
benefit from the resolution of the EFH/EFIH Allocation Dispute. It is therefore appropriate that
the EFH and EFIH estates—not third-parties who no longer have a role in these chapter 11

cases—foot the bill for these services.

[Remainder of page intentionally left blank.]

14
RLF! 19616603v.!

Case 14-10979-CSS Doc 13262 Filed 07/06/18 Page 15 of 15

Dated: July 6, 2018
Wilmington, Delaware

AYTON & FINGER, P.A.
Mark D. Collins QNo. 2981)

Daniel J. DeFranceschi (No. 2732)

Jason M. Madron (No. 4431)

920 North King Street

Wilmington, Delaware 19801

Telephone: (302) 651-7700

Facsimile: (302) 651-7701

Email: collins@rlf.com
defranceschi@rlf.com
madron@rlf.com

-and-

KIRKLAND & ELLIS LLP

KIRKLAND & ELLIS INTERNATIONAL LLP

Edward O. Sassower, P.C. (admitted pro hac vice)

Stephen E. Hessler, P.C. (admitted pro hac vice)

Brian E. Schartz, P.C. (admitted pro hac vice)

Aparna Yenamandra (admitted pro hac vice)

601 Lexington Avenue

New York, New York 10022-4611

Telephone: (212) 446-4800

Facsimile: (212) 446-4900

Email: edward.sassower@kirkland.com
stephen.hessler@kirkland.com
brian.schartz@kirkland.com
aparna.yenamandra@kirkland.com

-and-

James H.M. Sprayregen, P.C. (admitted pro hac vice)

Marc Kieselstein, P.C. (admitted pro hac vice)

Steven N. Serajeddini (admitted pro hac vice)

300 North LaSalle

Chicago, Illinois 60654

Telephone: (312) 862-2000

Facsimile: (312) 862-2200

Email: james.sprayregen@kirkland.com
marc.kieselstein@kirkland.com
steven.serajeddini@kirkland.com

Co-Counsel to the EFH Plan Administrator Board

15
RLF! 19616603v.1
